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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 United States of America, et al.,

                                  Plaintiffs,        Case No. 1:20-cv-03010-APM

v.                                                   HON. AMIT P. MEHTA

Google LLC,

                                Defendant.



 State of Colorado, et al.,

                                  Plaintiffs,        Case No. 1:20-cv-03715-APM

v.                                                   HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




          JOINT REPORT REGARDING THE CASE MANAGEMENT ORDER
       The Parties in Colorado, et al. v. Google LLC, No. 1:20-cv-03715-APM, submit this joint

report on the status of negotiations over the Case Management Order (“CMO”). The Parties have

continued to meet and confer in good faith over this past week to present and better understand

their respective positions. The Parties disagree over the limitations on depositions and written

discovery and present their respective position statements below as well as their views on the

issue of whether there should be a single consolidated CMO or separate CMOs for the two

Consolidated Actions. The U.S. Department of Justice (“DOJ”) is filing a separate statement on

its position as to the CMO.



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       Although important issues remain in dispute, the Parties have agreed on the addition to

the CMO of a statement addressing remote depositions and the technical difficulties that may

arise. This addition provides additional deposition time where the conduct of a remote deposition

is delayed because of the handling of exhibits that must be downloaded and displayed. For

example, the Parties have agreed on a procedure for going off the record if there are technical

difficulties, so any extra time spent loading exhibits does not prejudice the examining party.

               PLAINTIFF COLORADO STATES’ POSITION STATEMENT

       The Plaintiffs in Colorado, et al. v. Google LLC (“Colorado States”) submit their position

on three issues:

              Discovery: Google’s offer of five additional depositions (none of which would be

               solely in the control of the Colorado States) is entirely inadequate for full and fair

               litigation of the Colorado, et al. v. Google LLC, No. 1:20-cv-03715-APM, action

               (“Colorado States Action”), described by Google itself as “asserting “additional

               claims” and “a broader range of . . . conduct” than the plaintiffs in the DOJ

               Action.” Def.’s Resp. to Pls.’ Mot. to Consolidate at 3, No. 1:20-cv-03715-APM,

               ECF No. 52 (quoting Compl. ¶ 17, No. 20-cv-3715-APM, ECF No. 3, and citing

               id. ¶ 56 n.3 (observing that the “search advertising market defined in the DOJ

               Complaint” is different from the “general search advertising market” alleged by

               the Plaintiffs)). Rather, the Court should permit the Colorado States to notice an

               additional 30 depositions (less than half the number available to the United

               States). The Colorado States should also be able to propound an equal number of

               written interrogatories and requests for admission as in United States, et al. v.

               Google, No. 1:20-cv-03010-APM (“DOJ Action”), which are much less


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      burdensome. Both requests are more than justified by the number of ways in

      which the Colorado States Action “builds on and expands the theories of liability

      from those that are at issue” in the DOJ Action. Dec. 18, 2020 Status Conf. Tr. at

      12:11-15 (Judge Mehta speaking). Indeed, permitting additional discovery is

      consistent with the Court’s previous recognition that “The Colorado versus

      Google case is broader in scope, and so, therefore, there is different discovery.”

      Jan. 21, 2021 Status Conf. Tr. at 18:2-9 (Judge Mehta speaking).

     Discovery Coordination: The Colorado States pledge that they will work with

      DOJ to avoid duplication and burden on parties and third parties. That is

      important for the Colorado States themselves, which need to deploy their own

      resources most effectively to assemble evidence to support their claims and rebut

      Google defenses. Inefficiency and waste would be harmful to the successful

      prosecution of the Colorado States’ claims. This Court can, of course, intervene

      should it believe that the plaintiffs in the two cases have not met this obligation,

      which is codified in the proposed CMO we submit, attached as Exhibit A. But the

      Court should avoid imposing rigid rules that are unlikely to anticipate all of the

      diverse circumstances that could arise and that, therefore, might serve as fuel for

      needless litigation that occasions delay.

     Case Management Order: Consistent with their Motion to Consolidate and the

      Court’s granting of that motion “for pretrial purposes, including discovery and all

      related proceedings” Order Granting in Part and Denying in Part Pls.’ Mot. to

      Consolidate, No. 20-cv-3715-APM, ECF No. 67, the Colorado States believe that

      the Court should enter a single CMO governing both the DOJ action and the


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               Colorado States Action (together, the “Consolidated Actions”). See Ex. A. In

               addition, should the Court grant the DOJ’s request for separate CMO, we explain

               how those separate orders should be structured.

       (1) The Colorado Case Presents Distinct and Complicated Issues that Require
           Adequate Discovery Controlled by the Colorado States Themselves.

       The Colorado States present their position on the number of depositions and written

interrogatories and requests for admission that should be available to the Colorado States given

their expanded Complaint. The Department of Justice will separately explain why it believes that

the Google position restricting discovery is inadequate.

       The starting point is this: Although Google will likely point to the overlap between the

DOJ action and the Colorado States Action, the Colorado States’ allegations extend well beyond

the DOJ Action’s allegations as the Court has recognized. For example, the Colorado States

Complaint includes within its monopoly-maintenance claims:

          Conduct directed at specialized vertical providers. Complaint ¶¶ 168-199, No. 20-cv-
           3715-APM (D.D.C. Dec. 17, 2020), ECF No. 3 (“Colorado States’ Complaint”);

          Separate conduct pertaining to Google’s operation of its search-advertising tool, SA
           360. Colorado States’ Compl. ¶¶ 144-167;

          Greater emphasis on new forms of general search, such as through home speakers and
           connected cars, than the DOJ complaint. Colorado States’ Compl. ¶¶ 127-143;

          A general search advertising market that is different from that alleged in the DOJ
           complaint. Colorado States’ Compl. ¶¶ 82-89; and

          A prayer for relief that may, given the broader nature of the conduct alleges, lead the
           Colorado States to seek remedies beyond those sought by the Department of Justice.


           (a) The Court should grant the Colorado States 30 depositions, which is less than
               half the number afforded the DOJ.

       The broader scope of the Colorado States Action justifies granting the Colorado States

the ability to notice up to 30 separate depositions. The five areas noted above demonstrate that

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30 depositions is a reasonable number. Even just the additional emphasis and allegations of

conduct concerning specialized vertical providers and the use of the SA360 advertising tool

justify the Colorado States’ request.

       For example, the Colorado States allege that “[b]y eliminating competitive constraints in

its search-related markets, Google has become a monopolistic gatekeeper, free to limit passage

across the internet and to charge supra-competitive tolls for the journey,” Colorado States’

Compl. ¶ 168, and that Google, having artificially banished its general search competition to a

niche of the marketplace, took advantage of the obvious result: Firms using general search were

now artificially dependent on Google as a source of customer acquisition. So, Google doubled

down, using the fruits of unlawful monopoly maintenance to impose anticompetitive constraints

on the firms, which we call specialized vertical providers. Specialized vertical providers pose an

out-of-market threat to Google’s continued dominance of search-related markets, similar to the

threat Netscape presented to Microsoft.

       This is a complicated and critically important area and requires extensive factual

investigation, especially in light of the diverse business models that can be used by different

specialized vertical providers and the obvious fact that conduct directed at the specialized

vertical providers could worsen between the filing of the complaint and trial. That factual

investigation extends to additional firms and multiple commercial segments and must anticipate

defenses that Google may raise as well as requiring discovery from Google about the manner in

which it has treated specialized vertical providers, including any conduct that has heretofore been

undetected.

       The conduct the Colorado States allege concerning SA360 similarly extends beyond the

DOJ complaint. The core allegation is that “Google’s Search Ads 360 (“SA360”) service, a



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search advertising marketing tool used by many of the world’s most sophisticated advertisers,

has long pledged to offer advertisers a ‘neutral’ means for purchasing and comparing the

performance of not only Google’s search advertising, but also that of its closest competitors. But,

in reality, Google operates SA360—the single largest such tool used by advertisers—to severely

limit the tool's interoperability with a competitor, thereby disadvantaging SA360 advertisers.”

Colorado States’ Compl. ¶ 13. The Colorado States’ Complaint details Google’s multi-year

effort to diminish the ability of its own customers—large advertisers—to benefit from what

limited competition remains in the wake of Google’s other anticompetitive conduct. Colorado

States’ Compl. ¶¶ 144-167. That conduct is quite distinct from any allegations in either

complaint and requires factual investigation into its nature, impact in raising advertising

prices/and or limiting advertising quality, and the technical mechanisms by which Google

operates SA360 and by which advertisers purchase search-related advertising. Similar distinct

inquiries can be expected to arise from each of the other points of differentiation noted above,

including the adverse impact on innovation of Google’s conduct directed towards new forms of

information discovery.

        Against all this, Google asserts that the Parties should be forced to share depositions and

that the total number of depositions should only be increased from 65, over which the DOJ was

given control in its case, to 70, to be jointly controlled by all of the Plaintiffs.

        As justification, Google will likely, and incorrectly, point to the Colorado States’ Initial

Disclosures as a reason for why depositions should be more limited, arguing the Colorado States

should be allotted far fewer depositions because the disclosures largely overlap. This is wrong on

two distinct grounds.




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       First, initial disclosures are a record of the pre-complaint investigation; they are not a

witness list to which parties are bound even before the initiation of discovery. Yet, that is the

fundamental basis on which Google appears to rest its analysis—that the Colorado States already

know which entities will be important at trial. That is a mistaken premise. Although the Colorado

States conducted a thorough investigation to support the allegations in their complaint, they have

not yet engaged in “discovery,” so named precisely because it, as the Supreme Court has

emphasized, operates “as a device for ascertaining the facts, or information as to the existence or

whereabouts of facts, relative to those issues.” Hickman v Taylor, 329 U.S. 495, 501 (1947). It is

the expanded scope of the Colorado States Action, not the initial disclosures, that explains the

need for adequate discovery. Indeed, the attempt to limit discovery to what is now known is

already belied by the facts of the case. The DOJ third-party subpoenas that have already been

issued demonstrate just this point by seeking information from a number of third-parties that are

not included within the DOJ’s initial disclosures.

       Second, if Google were right that initial disclosures dictated the number of depositions

(which it is not), the DOJ and Colorado States would be entitled to 144 depositions total—the

total number of third parties disclosed in the DOJ and Colorado Initial Disclosures. Thus,

Google’s reliance on the Initial Disclosures as a basis to limit the Colorado States from pursuing

their action is not just wrong; it backfires. All Google has established is that the DOJ is already

limited to deposing less than half of the entities included within its Initial Disclosures, which

demonstrates why the Colorado States require the ability to notice additional depositions that in

their judgement are important to their case.

       The Colorado States commit to work closely with the Department of Justice to eliminate

duplication and to lessen any inconvenience to witnesses. To take an obvious example, the



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Colorado States do not intend to separately notice a deposition seeking testimony on a topic

within the scope of examination that the witness testified to during a deposition noticed by DOJ.

Where a witness, for example a third party, would be asked to testify both on issues within the

scope of the DOJ Complaint and additional topics contained within the Colorado States

Complaint, the Colorado States would coordinate with DOJ to avoid duplication of questioning,

and the Colorado States would work to ensure adequate time for both sets of non-overlapping

inquires. Where a deposition is noticed by the Colorado States, the Colorado States would

provide DOJ an opportunity to ask questions in its deposition (and would seek the same

opportunity in DOJ-noticed depositions), also to enhance efficiency and limit inconvenience.

The Colorado States’ proposed Case Management Order, attached as Exhibit A, detail these

coordination efforts to minimize duplication and ensure the Consolidated Actions proceed

efficiently (see discussion below in Section 3 of Colorado States’ Position Statement).

       With these processes in place, the Colorado States propose that they have the ability to

notice 30 depositions and to notice 4 two-day depositions, while reserving their rights to seek

additional depositions by leave of this Court should the need for such a request arise. That is less

than half of the total depositions afforded the Department of Justice and is necessary because of

the expanded scope of the Colorado States’ Complaint.

           (b) The Court should grant the Colorado States the ability to propound the same
               number of written interrogatories and requests for admission as the Department
               of Justice.

       The Colorado States seek the same number of written interrogatories and requests for

admission that are available to the parties in the DOJ action: (i) 25 interrogatories in total

(including discrete subparts), and an additional 20 contention interrogatories, which may not be

served until 180 days from beginning of fact discovery and (ii) 37 requests for admission.



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       Written discovery is an effective means of narrowing the issues so the litigation may

move forward more efficiently. Its use is neither time-consuming in the manner of depositions

nor overly burdensome, as the total amounts the Colorado States request follows the default

number of interrogatories (25) set out under Federal Rule of Civil Procedure 33. The significant

manner, detailed above, in which the Colorado States Action extends beyond the DOJ Action

provides ample justification for these numbers. But, in addition, and as with the depositions, the

Colorado States promise to work closely with the DOJ to avoid excess burden on all parties and

third parties, including the Colorado States themselves.

       (2) The Colorado States Propose that the Court Should Now Require Discovery
           Coordination, While Avoiding Rigid Rules that Cannot Anticipate the Metes and
           Bound of Future Factual Investigation.

       The proposed CMO (Exhibit A) establishes necessary principles regarding collaboration

of discovery between the Consolidated Actions.1 Specifically, the principles include:

                  Avoidance of duplication
                  Availability of discovery across the consolidation actions
                  Use of discovery across the consolidated actions
                  Deposition procedures
                  Deposition scheduling
                  Deposition counting and time limits
                  Avoidance of duplication for written discovery
                  Non-Party subpoenas
                  Meet and confers

       The Colorado States believe all parties and third-parties’ interests will be furthered by the

establishment of such principles to minimize duplication and ensure the Consolidated Actions

move forward efficiently. Further, to ensure that the number of depositions requested does not

prejudice the ability of the Colorado States to present their case, it is necessary for the CMO to



1
 This is the same language adopted for the same purpose as the text of the DOJ’s Proposed
Discovery Coordination Order.
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ensure that the parties have the ability to use all evidence in either case in any proceeding of

either case, including if this Court ultimately decides upon separate trials. Thus, Exhibit A

provides that discovery will be available across the Consolidated Actions.

       Finally, for Requests for Production, Google would impose on Plaintiffs a limitation that

Plaintiffs cannot issue duplicative document requests. The discovery coordination provisions in

Exhibit A establish that the parties shall work to avoid duplication throughout written discovery.

These provisions ensure duplication will be minimized, but the Colorado States oppose the strict

limitation Google seeks. For example, it is entirely possible that the response to a non-

overlapping document request from the Colorado States could yield a document that was also

responsive to a separate request from DOJ. Yet, Google apparently believes such an outcome

would be impermissible. This position is a recipe for unnecessary litigation and delay in

discovery.

       The Colorado States will work to limit the burden on parties and third parties. For

example, where the DOJ has already issued a request for production to a third party, the

Colorado States will focus their separate requests on areas not covered by the DOJ request.

       Google remains free to object if the Requests become overly duplicative and

burdensome. This commitment to avoid duplication, however, only works for all forms of

written discovery if the Court orders that any deposition, document, data, or other evidence

produced by a Party or non-Party can be used in any proceeding of either of the Consolidated

Actions, as requested in the discovery coordination provisions contained in Paragraph 5 of

Exhibit A.

       (3) This Court Should Enter a Single Case Management Order.




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       The U.S. Department of Justice has requested that the Court enter separate CMOs. The

Colorado States prefer the Court enter a single CMO to be consistent with the Court’s Order

consolidating the DOJ action and Colorado States Action for pre-trial proceedings. Order

Granting in Part and Denying in Part Pls.’ Mot. to Consolidate, ECF No. 67, No. 1:20-cv-3715-

APM. The Colorado States have attached a proposed single CMO as Exhibit A. The proposed

CMO, Exhibit A, includes several additional dates specific to the Colorado States Action, like

the requirement that the Colorado States begin the production of Investigation Materials on

February 4th and the requirement that any complaint amended as of right be filed on or before

March 15th. Exhibit A also reflects changes in the discovery limitations to account for the

addition of the Colorado States Action, which are discussed in more detail below. Finally,

Exhibit A includes a new section drawn from the DOJ’s proposed Discovery Consolidation

Order, Exhibit C, addressing how discovery will be coordinated to ensure the Consolidated

Actions move forward expeditiously.

       If the Court grants the Department of Justice’s request for separate CMOs, the Colorado

States respectfully request that the CMO contain (i) the Colorado States’ proposed number of

depositions, two-day depositions, written interrogatories, and requests for admission, (ii) the

dates specific to the Colorado States Action, and (iii) the specific agreed-upon provision

concerning the use of exhibits at remote depositions. Additionally, the Court should enter the

DOJ’s Discovery Consolidation Order, Exhibit C, to ensure discovery proceeds efficiently if the

Court grants the DOJ’s request for separate CMOs. The Discovery Consolidation Order includes

the same provisions that the Colorado States added in the proposed single CMO attached as

Exhibit A and addressed in more detail above.




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                 DEFENDANT GOOGLE LLC’S POSITION STATEMENT

       When Plaintiffs in State of Colorado, et al. v. Google LLC, No. 20-cv-3715-APM

(collectively, the “Colorado Plaintiffs”) filed their Complaint on December 17, 2020, they

moved to consolidate their case with United States, et al. v. Google LLC, No 20-cv-3010-APM

(the “DOJ Action”) in order to take advantage of the “efficiency and convenience” of “one

discovery process,” which they explained “will save time and avoid unnecessary costs.” D.I. 5 at

4. Absent consolidation, the Colorado Plaintiffs explained, the cases would feature “substantial

overlapping discovery.” Id.2 The DOJ “consent[ed] to consolidation for purposes of discovery,”

id. at 1, as did Google, and the Court subsequently ordered that the cases “shall be consolidated

… for pretrial purposes, including discovery and all related proceedings,” D.I. 67.

       Now, rather than agreeing to a single, consolidated discovery process, the Colorado

Plaintiffs and the DOJ Plaintiffs have devised proposals that would undermine the very

efficiencies that justified consolidation and would guarantee unnecessary duplication of effort by

Google, non-parties, and the Court. Plaintiffs propose that any discovery taken of Google or a

third party in one action can be used in the other, while at the same time resisting any

requirement that they coordinate their efforts (and rejecting the notion that a discovery response

by Plaintiffs in one case can be used in the other case). See Ex. A (Colorado Plaintiffs’ Proposed

CMO) ¶ 5; Ex. C (DOJ Plaintiffs’ Proposed Discovery Consolidation Order) ¶¶ 4, 7–10.

Plaintiffs will not agree, for example, to depose each witness only once; indeed, both the

Colorado Plaintiffs’ proposed CMO and the DOJ Plaintiffs’ proposed “Discovery Consolidation

Order” expressly contemplate that Plaintiffs intend to notice the same Google witness for


2
 See also Status Tr. 61:4–8, Dec. 18, 2020, where the Colorado Plaintiffs noted that they “are
not here to reinvent the wheel” but rather “hope to join as seamlessly and to proceed as
expeditiously as [they] can.”

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separate depositions. Ex. A ¶ 5(e); Ex. C ¶ 6. Moreover, the Colorado Plaintiffs’ proposed

CMO would allow them to notice 30 additional fact-witness depositions—on top of the 65 fact-

witness depositions that the DOJ Plaintiffs are allowed—and to serve their own separate

allotment of written discovery without any requirement of coordination with DOJ Plaintiffs to

serve joint requests for common issues of fact. See Ex. A ¶¶ 12–15.

       Plaintiffs’ attempt to litigate their two overlapping cases in parallel and essentially double

the burden on Google and non-parties should be rejected. As discussed below, there is no reason

to believe that these consolidated actions will require significant discovery beyond the more-

than-generous limits reflected in the CMO entered in the DOJ Action on December 21, 2020

(D.I. 85), and there is certainly no basis for the dramatic expansion contemplated by Plaintiffs’

proposals. Google respectfully submits that the Court should enter a lightly modified version of

the existing CMO that offers a reasonable expansion of the generous limits on written discovery

and depositions while minimizing duplicative discovery and the resulting undue burden on

Google and non-party witnesses. See Ex. B (Google’s Proposed CMO).3

                                               ***

        Although it has been only a few weeks since the Colorado Plaintiffs requested and

received a consolidation order—with the DOJ Plaintiffs’ consent—they now steadfastly refuse to

agree to “a single discovery process.” D.I. 5 at 1. The Colorado Plaintiffs have submitted a

proposal that would allow them extensive discovery beyond what is contemplated in the existing

CMO. Ex. A ¶¶ 5, 11–14. The DOJ Plaintiffs, for their part, have taken the position that there

should be separate CMOs for each case and submitted their own proposed “Discovery




3
 Google is submitting its proposal as a redline that reflects its proposed changes to the CMO
entered by the Court on December 21, 2020 (D.I. 85).
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Consolidation Order,” which they first circulated on January 27 (i.e., the same day this joint

statement originally was due to be filed). Ex. C ¶ 1; see D.I. 96 ¶ 3. Although Plaintiffs’

proposals include a nominal commitment to “make good faith efforts to cooperate in

coordinating and integrating discovery,” Ex. A ¶ 5(a); Ex. C ¶ 2, they essentially allow the two

groups of Plaintiffs to each use their own allotment of deposition time and discovery requests

however they see fit, without any requirement that they work together to minimize the burden on

witnesses and avoid duplication in these consolidated actions. See, e.g., Ex. A ¶¶ 5(f), 15; Ex. C

¶¶ 7–10. For example, both Plaintiffs propose that if the DOJ Plaintiffs and the Colorado

Plaintiffs both notice a party deposition, the duration will double from 7 hours to 14 hours (or

increase from the already-expanded 14 hours to 21 hours for witnesses selected for two-day

depositions). Ex. A ¶ 5(f)(ii); Ex. C ¶ 7(b). Third-party depositions, meanwhile, will extend

from 7 hours to 11 if noticed by both groups of Plaintiffs. Ex. A ¶ 5(f)(iv); Ex. C ¶ 7(d).

Beyond imposing undue burden, Plaintiffs’ proposal with respect to third-party depositions is

inequitable: they propose taking two-thirds of the questioning time, leaving Google with only

one-third whenever both Plaintiffs and Google notice the deposition. Ex. A ¶ 5(e); Ex. C ¶ 7(e).4

And all of that is on top of the fact that nothing in Plaintiffs’ proposals stops Plaintiffs from

forcing witnesses to sit for separate depositions in each of the consolidated actions; indeed, their

proposals specifically contemplate that Plaintiffs will do just that. Ex. A ¶ 5(e) (indicating “there



4
 If Plaintiffs and Google both notice a third-party deposition, the questioning time should be
divided equally between the two sides (i.e., the DOJ Plaintiffs and the Colorado Plaintiffs, on the
one hand, and Google, on the other hand). Ex. B ¶ 14; see, e.g., United States v. Am. Express
Co., 10-cv-4496, D.I. 92 ¶ 25 (E.D.N.Y. Mar. 2, 2011) (setting out a “discovery coordination
protocol” for multiple actions brought by Government Plaintiffs and Private Plaintiffs against
Amex, which provides that “[f]or any third party deposition noticed by both Amex and the
Plaintiffs … the on-the-record deposition time shall be divided 50/50 between Amex and the
Plaintiffs noticing or cross-noticing the deposition, and Plaintiffs’ 50% shall be further allocated”
between the Government Plaintiffs and Private Plaintiffs).
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will be instances in which the Plaintiffs will notice a Google witness for separate times”); Ex. C

¶ 6 (same).

       The notion that the Colorado Plaintiffs should receive their own separate allocation of

deposition notices, deposition questioning time, and written discovery requests—without any

meaningful coordination with the DOJ Plaintiffs—defeats the very purpose of consolidation. As

the Court observed at the December status conference, it is incumbent upon all parties to these

consolidated actions to avoid “having to have folks sit for multiple depositions over multiple

days” because “part of consolidating this is to lessen the burden on individuals – in carrying out

these depositions.” Status Tr. 67:24–68:2, Dec. 18, 2020. Courts routinely enter orders

imposing a collective limit on the discovery available to each side in consolidated cases,

including in antitrust actions brought by state or federal authorities.5 And courts in this District

and others have also maintained standard limits on the duration of depositions in consolidated

actions, including when some or all of the plaintiffs are government antitrust enforcers.6


5
  See, e.g., FTC v. Actavis, Inc., No. 09-cv-955, D.I. 307 at §§ II, III (N.D. Ga. June 11, 2014)
(providing that “Plaintiffs collectively and Defendants collectively may each notice the
deposition of up to 40 fact witnesses” and directing the parties “to coordinate discovery where
possible” and “use their best efforts to avoid duplicative discovery” in consolidated cases
brought by the Federal Trade Commission and private plaintiffs (emphasis added)); In re
Electronic Books Antitrust Litig., No. 11-md-2293, D.I. 193 at § 6(h) (S.D.N.Y. July 6, 2012)
(providing that “Plaintiffs (collectively) and Non-Settling Defendants (collectively) may notice
the deposition of up to 60 party fact witnesses” in consolidated actions against multiple
defendants brought by the Department of Justice, a group of states, and private plaintiffs
(emphasis added)); FTC v. Ovation Pharms., Inc., No. 08-cv-6379, D.I. 20 at 14 (D. Minn. Jan.
15, 2009) (providing that “[t]he FTC and Minnesota may notice and take a total of 15 factual
depositions between them” and “[Defendant] may notice and take 15 factual depositions” in
related cases brought by the Federal Trade Commission and the State of Minnesota).
6
  See, e.g., United States v. Microsoft, No. 98-cv-1232, D.I. 635 at § 5(g)–(h) (D.D.C. Sept. 28,
2001) (providing that “[f]act witness depositions shall not exceed 30 for each side” and “[n]o
deposition may last more than eight hours … except by leave of the Court or stipulation of the
parties” in consolidated antitrust actions brought by the Department of Justice and several
states); FTC v. Cephalon, Inc., No. 08-cv-2141, D.I. 76 at ¶¶ 15, 19 (E.D. Pa. Aug. 20, 2010)
(providing that the parties “shall coordinate so that each witness is deposed only once in
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       Aside from the threshold issue of whether and how Plaintiffs should be required to

coordinate their discovery, there is simply no basis for such a dramatic expansion of the limits on

discovery reflected in the existing CMO. See D.I. 85. As the Colorado Plaintiffs explained to

the Court just last month, “[c]ommon questions of law and fact abound in the[se]” two cases,

such that “if the cases were separate, substantial overlapping discovery would have to be

undertaken.” D.I. 5 at 4. These predictions about the substantial degree of overlap have been

borne out by the parties’ initial disclosures. Notably, all but two of the 38 non-parties who the

Colorado Plaintiffs believe are likely to have discoverable information are also listed on the

initial disclosures served by the plaintiffs in the DOJ Action. Moreover, the Colorado Plaintiffs

did not disclose a single unique source of documents that they anticipate using to support their

claims: every single one of the 13 non-parties that the Colorado Plaintiffs identified as having

produced documents during their investigations also produced documents to the Department of

Justice. Google, meanwhile, disclosed only five additional witnesses in response to the

allegations made by the Colorado Plaintiffs that were not asserted in the DOJ Action. In short,

there is no reason to believe that the allegations made by the Colorado Plaintiffs will so expand

discovery to justify enlarging the already generous limits reflected in the CMO entered in the

DOJ Action on December 21. See D.I. 85.

        Google nevertheless has offered to increase the agreed limits on written discovery and

depositions to account for the additional allegations advanced by the Colorado Plaintiffs.

Specifically, Google has proposed that each side (i.e., the DOJ Plaintiffs and the Colorado

Plaintiffs, on the one hand, and Google, on the other hand) receive ten additional interrogatories,



connection with” multiple consolidated cases brought by the Federal Trade Commission and
private plaintiffs and specifying that “[u]nless otherwise agreed upon by the Parties or ordered by
the Court, each witness shall be limited to one (1) deposition of one (1) day of seven (7) hours”).
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ten additional contention interrogatories, ten additional requests for admission, and five

additional fact-witness depositions, such that each side may take up to 70 depositions without

leave of Court. See Ex. B ¶¶ 11, 12, 14. As noted above, there is currently no basis on which to

conclude that the allegations unique to the Colorado Action will meaningfully expand the scope

of discovery, but in the unlikely event that the parties are approaching the existing limits and

believe that more written discovery requests or depositions are necessary, the parties can address

that issue by stipulation or through a request to the Court.

       With respect to trial related deadlines and limits, Google’s proposed CMO defers

addressing those matters as they relate to the Colorado Action. See Ex. B ¶¶ 5 n.2, 8. The Court

has already concluded that the parties should revisit whether a consolidated trial is appropriate

“after the close of expert discovery and resolution of any motions for summary judgment.” D.I.

67. At that time the parties can address whether a consolidated trial is appropriate and, if so,

whether any changes need to be made to the CMO to accommodate the Colorado Plaintiffs.




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Dated: January 29, 2021            Respectfully submitted,

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